
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 97-1448


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 CHARLES E. BREWSTER,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                              _________________________

                                        Before

                               Selya, Boudin and Stahl,

                                   Circuit Judges.
                                   ______________

                              _________________________

               Henry  W.  Griffin,   by  appointment  of  the   court,  for
               __________________
          appellant.
               Margaret  D. McGaughey,  Assistant  United States  Attorney,
               ______________________
          with whom Jay P. McCloskey, United States Attorney, and Donald E.
                    ________________                              _________
          Clark,  Assistant  United  States Attorney,  were  on  brief, for
          _____
          appellee.

                              _________________________


                                   October 2, 1997
                               ________________________



















                    SELYA,  Circuit Judge.    In  this  sentencing  appeal,
                    SELYA,  Circuit Judge.
                            _____________

          defendant-appellant  Charles  E.  Brewster  protests  an   upward

          departure that the  district court premised  in large measure  on

          prior, uncharged criminal conduct    a history of persistent  and

          vicious  domestic  violence     dissimilar  to  the  offenses  of

          conviction (being a  felon in possession of a  firearm and making

          false statements in connection with the procurement of firearms).

          We affirm the sentence.

          I.  HOW THE CHARGES AROSE
          I.  HOW THE CHARGES AROSE

                    We  distill the  facts  from  the  plea  colloquy,  the

          undisputed portions of the presentence  investigation report (PSI

          Report),  and the  transcript of  the disposition  hearing.   See
                                                                        ___

          United States v.  Talladino, 38 F.3d 1255, 1258  (1st Cir. 1994);
          _____________     _________

          United States v. Dietz, 950 F.2d 50, 51 (1st Cir. 1991).
          _____________    _____

                    In August 1996,  police officers responded to  a report

          of domestic violence at the abode shared by the appellant and his

          wife  in Livermore  Falls,  Maine.   The  officers observed  Mrs.

          Brewster's  injuries, tried to  calm the couple's  three children

          (ages 10, 11 and 16), took statements from both Mrs. Brewster and

          her  sister-in-law,  and  arrested the  appellant.    While being

          transported to the  county jail, Brewster spoke volubly about his

          ardor for hunting  and described the firearms (a  30-30 rifle and

          16-gauge shotgun) that  he owned and kept  in his house.   When a

          routine criminal record check disclosed a prior felony conviction

          for armed  robbery, the  police repaired to  the house  and, with

          Mrs.  Brewster's  consent,  seized  the  two  weapons.    Further


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          investigation revealed that the appellant had purchased two other

          rifles  without disclosing  his  status  as  a  convicted  felon.

          Meanwhile,  Mrs. Brewster obtained a state court "protection from

          abuse"  order, and state  authorities released Brewster  on bail,

          conditioned upon his refraining  from all contact with his  wife.

          The appellant promptly violated this restriction.

                    In September  1996, a  federal grand  jury returned  an

          indictment charging the appellant with  one count of making false

          statements  on  a firearm  application  form in  violation  of 18

          U.S.C.    922(a)(6), 924(a)(2) (1994),  and two counts of being a

          felon in  possession of a  firearm in violation  of 18  U.S.C.   

          922(g)(1),  924(a)(2) (1994).    In  due  course,  the  appellant

          pleaded guilty to all three counts.

          II.  HOW THE SENTENCE DERIVED
          II.  HOW THE SENTENCE DERIVED

                    The district  judge pondered several pieces of evidence

          at  the  disposition hearing.    Among  these  was a  handwritten

          statement  appended to  the PSI  Report, in  which the  appellant

          admitted to purchasing guns knowing that he was legally forbidden

          from doing so.  In  a second handwritten statement, also appended

          to the PSI Report, Mrs.  Brewster chronicled 17 years of horrific

          domestic abuse.   She explained that sheer terror had forestalled

          any  contact with  the authorities  before August  of 1996:   she

          feared not only for her life,  but also for what might happen  to

          her children  if she were slaughtered.   Her fear of  bodily harm

          stemmed  from her husband's  repeated minations during  years and

          years of  physical abuse.   She described incidents in  which the


                                          3














          appellant threw  her on the floor and stomped on her cranium with

          heavy work boots, banged her head against a counter, threw knives

          at her, and at various times smothered, kicked, punched, bit, and

          strangled her.  In addition,  she had been threatened "with every

          kind of brutal death possible."1

                    The appellant made little effort to conceal his abusive

          behavior.   In recorded interviews with the state police, several

          neighbors and  friends  described  incidents  involving  physical

          violence and vulgar  language, and reported  that they had  heard

          the appellant threaten to kill his wife on several occasions.

                    After making an upward adjustment for multiple weapons,

          USSG  2K2.1(b)(1)(A), and a downward adjustment for acceptance of

          responsibility, USSG  3E1.1, Judge Carter settled upon an offense

          level (OL)  of 18.  He then  assessed criminal history points for

          an  armed  robbery   conviction  and  a  breaking   and  entering

          conviction  but overlooked  seven  other  convictions because  of

          their age or the unavailability  of records.  The resultant point

          score placed  Brewster in  criminal history  category (CHC)  III.
                              
          ____________________

               1A  brief  excerpt illustrates  the  tone and  tenor  of the
          statement:

                    [My husband] has tried to drowned [sic] me in
                    the pool  and in  the bath  tub.   On several
                    occasions I thought I was going to die before
                    he let me  up. . . .   He's told me  he would
                    slice my  throat while I  slept.  He  has put
                    knifes  [sic] against  my throat  and pressed
                    them  into my neck, laughing while he did it.
                    He  has sawed my kitchen set  up with a power
                    saw because I  cooked the  `wrong thing'  for
                    supper and tried  to pull me outside  to `cut
                    my hands off.'  I  hid in the woods for hours
                    that night, but had to go back for my son.

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          This matrix (OL 18; CHC III) yielded a guideline sentencing range

          (GSR) of 33 to 41 months.

                    The government urged  the court to depart upward on the

          ground  that Brewster's CHC  underrepresented the gravity  of his

          past criminality and the  corresponding risk of recidivism.   The

          appellant  objected.   The ensuing  debate  centered around  USSG

           4A1.3  (1995), pertinent portions of which are reproduced in the

          Appendix.  Judge  Carter expressed concern about  whether section

          4A1.3's language  and structure  permitted a  departure based  on

          spousal abuse, especially since that  abuse   which he considered

          relevant but not similar to the offense of conviction   had never

          been  adjudicated as  criminal conduct.   In  the  last analysis,

          however, the judge opined that the case qualified for a departure

          because  of the 17-year  history of unrelieved  domestic violence

          and the existence of  seven prior convictions for  serious crimes

          that had not been counted in arriving at the CHC.  The judge then

          mentioned  a third factor, declaring that the appellant's refusal

          effectively to pursue  an alcohol abuse  program or to  undertake

          domestic abuse counseling  "[a]dd[ed] to all of this  in terms of

          the unusual character of this case."

                    Turning to the  matter of degree, the  court determined

          that  the upward departure  should be fashioned  by simulating an

          increase from  CHC  III to  CHC V.   The  court  stressed that  a

          sentence at the  upper limit of the simulated  GSR (51-63 months)

          would produce a  prison term of approximately five  years, which,

          when followed by the maximum available term of supervised release


                                          5














          (three years), would keep the  appellant away from his wife until

          their youngest child had reached age 18.  At that time, the court

          reasoned, Mrs. Brewster  would no longer be "held  hostage" in an

          abusive situation  by her  concern for her  children.   The court

          added  that a  sentence  of that  magnitude  was "appropriate  in

          recognizing the serious nature of this  prior criminal conduct as

          related conduct  to  the offense  conduct  of possession  of  the

          firearm."

                    When  all was  said and done,  the court  sentenced the

          appellant to serve  an incarcerative term of  63 months, followed

          by a  three-year term of  supervised release  (the conditions  of

          which,   among   other   things,   proscribed   any  contact   or

          communication  with his wife  absent written permission  from the

          court).  This appeal followed.

          III.  THE STANDARD OF REVIEW
          III.  THE STANDARD OF REVIEW

                    We review departures for abuse of discretion.  See Koon
                                                                   ___ ____

          v. United  States,  116 S.  Ct.  2035, 2046-47  (1996).   In  the
             ______________

          process, we must determine three things:  whether the articulated

          ground for  departure  is conceptually  appropriate, whether  the

          record provides sufficient factual support for a finding that the

          ground exists, and whether the degree of departure is reasonable.

          See United States v. Dethlefs, ___ F.3d ___, ___  (1st Cir. 1997)
          ___ _____________    ________

          [No. 96-2071, slip op. at 10].

                    For organizational purposes, we  compress the departure

          inquiry   in  this  case  by  examining  the  legal  and  factual

          sufficiency of the  departure grounds in tandem.  Only then do we


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          inquire into the degree of departure.



          IV.  THE GROUNDS FOR DEPARTURE
          IV.  THE GROUNDS FOR DEPARTURE

                    The court below departed because it determined that the

          appellant's CHC significantly underrepresented his proclivity  to

          commit future crimes and the  seriousness of his criminal past in

          two  ways:   first,  CHC  III failed  adequately  to reflect  the

          gravity  and  duration  of his  vicious,  assaultive interspousal

          behavior; and second,  CHC III failed  adequately to reflect  the

          cumulative  impact of  seven prior  convictions  that yielded  no

          criminal history points.  We  discuss these factors seriatim.  We
                                                              ________

          then  discuss the  court's allusion  to  the appellant's  failure

          effectively to pursue  a treatment program for  domestic violence

          or alcohol abuse.

                    A.  Domestic Abuse as a Ground for Departure.
                    A.  Domestic Abuse as a Ground for Departure.
                        ________________________________________

                    The  guideline that  the district  court invoked,  USSG

           4A1.3,  permits a  departure if  reliable information  indicates

          that the CHC  "significantly under-represents the seriousness  of

          the  defendant's  criminal  history or  the  likelihood  that the

          defendant  will commit  further crimes."    The guideline's  text

          relates that such  information "may include,  but is not  limited
                                                        ___________________

          to" the  type illustrated in  a series  of five  vignettes.   Id.
          __                                                            ___

          (emphasis supplied).   The first four examples address charged or

          adjudicated  criminal conduct,  and the  fifth addresses  conduct

          which, although unadjudicated (and perhaps uncharged), is similar

          to the offense of conviction.


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                    In  contrast  to  these   examples,  the  court   below

          predicated the  instant departure  principally on  Brewster's 17-

          year history of unadjudicated, uncharged domestic abuse, which it

          termed "the  most appalling  part of this  man's record."   Judge

          Carter recognized  that none  of the  illustrations contained  in

          section 4A1.3 applied  to this misconduct,  as the appellant  had

          never been charged  with, or convicted of, abusive  behavior, and

          this  prior misconduct  bore  no similarity  to  the offenses  of

          conviction.  But the judge looked to the guideline's introductory

          language and  concluded that Brewster's pervasive  domestic abuse

          "amply  demonstrated" the likelihood  that he will  commit future

          crimes.   Brewster  attacks this  finding  on three  fronts.   He

          maintains that  the domestic abuse,  in and  of itself, is  not a

          legally permissible  ground for  departure  under section  4A1.3;

          that it is  not a relevant consideration  here; and that,  in all

          events,  the evidence  of domestic  violence  relied upon  by the

          sentencing court possessed too  few hallmarks of trustworthiness.

          None of these arguments is convincing.2

                                          1.
                                          1.

                              
          ____________________

               2Given the  sentencing  court's  factual  findings,  we  are
          inclined to believe  that there is force  behind the government's
          argument  that the prolonged  domestic violence which  marred the
          Brewsters' marriage would have allowed the court to depart upward
          under  USSG  5K2.0  (permitting departure  if the court  finds an
          aggravating  circumstance  of  a  kind,   or  to  a  degree,  not
          adequately taken into consideration  by the sentencing guidelines
          that renders the case meaningfully atypical).  See,  e.g., United
                                                         ___   ____  ______
          States v.  Keester, 70  F.3d 1026, 1027-28  (8th Cir.  1995) (per
          ______     _______
          curiam) (upholding  such a  departure).   Because we sustain  the
          upward departure under section 4A1.3, see text infra, we need not
                                                ___      _____
          resolve this question definitively.

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                    Emphasizing   the   Sentencing   Commission's   express

          invitation  to consider "prior similar adult criminal conduct not
                                         _______

          resulting  in a  criminal conviction,"  USSG  4A1.3(e)  (emphasis

          supplied),  the appellant posits  that the guideline  by negative

          implication forbids the use of dissimilar, uncharged conduct as a

          basis for departure.  We do not agree.

                    In our  judgment, the  determination  of whether  prior

          criminal conduct that  is both uncharged and  dissimilar can ever

          form a basis for a criminal history departure is neither dictated

          nor informed  by the  language of section  4A1.3(e).   After all,

          that   section  states   explicitly  that   the   list  of   five

          illustrations is not intended to be exhaustive.  What is more, to

          infer  that the  guideline's  explicit authorization  to consider

          similar  misconduct  as  a  basis  for  departure  precludes  any

          consideration  of dissimilar misconduct for that purpose not only

          would  frustrate the "included,  but not limited  to" caveat that

          the  Sentencing Commission deliberately  inserted in the  text of

          section  4A1.3, but  also  would  run  counter to  a  fundamental

          principle of departure jurisprudence:  that, in the absence of an

          explicit  proscription,   courts  generally  should   not  reject

          categorically any factor as a potential departure predicate.  See
                                                                        ___

          Koon, 116 S. Ct. at 2051; Dethlefs,  ___ F.3d at ___ [slip op. at
          ____                      ________

          16]; see  also USSG Ch.1,  Pt. A., intro. comment.  4(b) (stating
               ___  ____

          that the Sentencing Commission did not intend "to limit the kinds

          of factors,  whether  or  not  mentioned  anywhere  else  in  the

          guidelines, that  could constitute  grounds for  departure in  an


                                          9














          unusual case").   Finally, construing section 4A1.3  to mean what

          it says comports with the Commission's emphasis on a case-by-case

          approach to section  4A1.3 departures, see USSG   4A1.3, comment.
                                                 ___

          (backg'd.) ("This policy  statement recognizes that the  criminal

          history score is unlikely to take into account all the variations

          in the seriousness of criminal history that may occur.").

                    For  these reasons, we  rebuffed a kindred  argument in

          United States v.  Doe, 18 F.3d 41 (1st Cir. 1994).  The defendant
          _____________     ___

          there, convicted  of being  a felon in  possession of  a firearm,

          focused on statements in the  commentary to USSG  4A1.2 that open

          the door  for sentencing courts  to use outdated  juvenile crimes

          similar to the  offense of conviction  as a departure  predicate.

          See  id.  at 45-46.    Drawing  a  negative inference  from  that
          ___  ___

          language, Doe argued that the  court could not use his uncounted,

          outdated,  dissimilar   juvenile  crimes  as  a  springboard  for
                     __________

          departure.  See id.  We rejected  this argument, noting both that
                      ___ ___

          it contravened the Sentencing  Commission's express intention not

          to limit gratuitously the kinds of factors that could  constitute

          grounds for departure  in a sufficiently atypical  case, and that

          the guideline commentary  provided no explicit instruction  as to

          the use of uncounted dissimilar  juvenile misconduct.  See id. at
                                                                 ___ ___

          46.

                    Both  observations are  apropos  here.   Moreover,  the

          fundamental lesson to be derived from Doe is "that a court should
                                                ___

          not infer from  inexplicit Guidelines language, or  from language

          that  authorizes  use of  a  particular  factor  as a  basis  for


                                          10














          departure in some cases, an absolute barrier in principle against
                       ____           ________

          using certain  other factors as  grounds for  departure in  other
                                                                      _____

          unusual circumstances."   Id. at 47.   We find that lesson  to be
          _______                   ___

          instructive in the circumstances at hand.

                    Considerations of consistency also conduce to following

          Doe's  lead.  The  guidelines, while not  specifically addressing
          ___

          the use of  uncharged, dissimilar conduct as a  factor in section

          4A1.3 departures, explicitly  provide that the touchstone  of any

          such  departure  determination  is  "that  the  criminal  history

          category  does  not  adequately reflect  the  seriousness  of the

          defendant's  past criminal  conduct or  the  likelihood that  the

          defendant will commit other crimes."   USSG  4A1.3, p.s.  Because

          the  initial CHC determination appraises a defendant's history of

          deviant behavior  without regard to  whether his past  crimes are

          similar in nature  to the offense of conviction, we see no reason

          to insist that courts take an artificially narrow view and assess

          the  CHC's  adequacy  through  a  lens  that  filters  out  prior

          misconduct  which is  dissimilar  in  nature  to the  offense  of

          conviction, as long as that conduct, alone or in combination with

          other known data, involves or portends serious criminal behavior.

                    On this issue, all roads lead to Rome.  Accordingly, we

          hold that, in an appropriate  case, a criminal history  departure

          can  be based  upon  prior dissimilar  conduct  that was  neither

          charged nor  the subject  of a  conviction.3   In so  holding, we
                              
          ____________________

               3To  be   sure,  we  should  approach  "dissimilar  conduct"
          departures, like all other departures, with great circumspection.
          Our  holding will  have  force  only in  instances  in which  the

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          align ourselves  with the Seventh  Circuit, see United  States v.
                                                      ___ ______________

          Schweihs,  971 F.2d  1302, 1319  (7th  Cir. 1992),  and note  our
          ________

          respectful  disagreement  with  the Second  Circuit,  see  United
                                                                ___  ______

          States v. Chunza-Plazas, 45 F.3d  51, 56 (2d Cir. 1995) (vacating
          ______    _____________

          an upward departure based on dissimilar criminal conduct that had

          not  resulted  in  conviction and  holding  that  "a court  might

          properly consider that  conduct [under section 4A1.3(e)]  only if

          it is `similar' to the crime of conviction").

                                          2.
                                          2.

                    The appellant  contends, in  the alternative,  that the

          imposed sentence  must be vacated  because the  court rested  its

          appraisal of  his past  sociopathy upon  information that  lacked

          trustworthiness  and did not  credibly show that  the conduct was

          meaningfully atypical.  This contention is without merit.

                    We begin with  bedrock.  Traditional rules  of evidence

          do  not pertain  in the  sentencing phase,  see United  States v.
                                                      ___ ______________

          Gonzalez-Vazquez,  34 F.3d  19,  25 (1st  Cir.  1994), and  trial
          ________________

          courts exercise wide  discretion in deciding what  information is

          sufficiently  dependable to  rely  upon,  see  United  States  v.
                                                    ___  ______________

          Tardiff,  969 F.2d  1283, 1287  (1st  Cir. 1992).   Despite  this
          _______
                              
          ____________________

          uncharged, dissimilar  conduct is so  serious that, unless  it is
          factored into the sentencing calculus, the resultant  CHC will be
          manifestly  deficient  as  a  measure  of  the  defendant's  past
          criminality and/or  likely recidivism.   Moreover,  we anticipate
          that  we  will  encounter  relatively  few  defendants  who  have
          substantial records of serious,  dissimilar criminal conduct that
          has never  been brought  to  contemporaneous official  attention.
          Indeed, such cases  may be limited to those  types of misconduct,
          such  as domestic abuse, in which the very nature of the criminal
          behavior  itself explains  the absence  of  previous charges  and
          convictions.

                                          12














          latitude, the information upon  which a sentencing  determination

          is  based  must  possess "sufficient  indicia  of  reliability to

          support its probable accuracy."  USSG  6A1.3, p.s.

                    Reliability  is a  flexible, case-specific  standard in

          the   sentencing  context,   but  it   always   is  informed   by

          considerations  of due process  and experiential knowledge.   See
                                                                        ___

          United States v. Lanterman, 76 F.3d 158, 160-161 (7th Cir. 1996);
          _____________    _________

          Tardiff,  969  F.2d  at  1287.   Within  those  wide  parameters,
          _______

          sentencing   courts  may  elect   to  embrace  divers   kinds  of

          information,  even hearsay evidence that has never been subjected

          to  cross-examination.   See  Tardiff, 969  F.2d at  1287; United
                                   ___  _______                      ______

          States v.  Zuleta-Alvarez,  922  F.2d 33,  36  (1st  Cir.  1990).
          ______     ______________

          Moreover, factual averments  contained in the PSI  Report usually

          are deemed  reliable enough to  be used for  sentencing purposes.

          See Gonzalez-Vazquez, 34 F.3d at  25; United States v. Morillo, 8
          ___ ________________                  _____________    _______

          F.3d 864, 872 (1st Cir. 1993) (collecting cases).

                    Here, the  sentencing court  relied on  Mrs. Brewster's

          notarized statement as the principal basis for its findings anent

          the  history  of  domestic  abuse.   In  our  view,  the  judge's

          determination  that  this  statement  accurately  portrayed   the

          salient events is unimpugnable.  We explain briefly.

                    In  the first  place,  Mrs.  Brewster's  statement  was

          authored  subject to  the penalties  of perjury.   In  the second

          place, the appellant virtually  conceded the statement's accuracy






                                          13














          below,4 and  failed to  dispute the  statement's contents  in the

          face  of the district judge's explicit  warning that, if accepted

          as true,  the statement  would form part  of the  foundation upon

          which the  judge  would decide  what sentence  should be  levied.

          Although the  government must carry  the devoir of  persuasion in

          regard to facts  supporting an upward  departure and the  accused

          has no obligation to offer oppugnant evidence, Brewster's refusal

          to   disavow  the   government's  accusations   when   given  the

          opportunity to do so  can itself be viewed as an  indicium of the

          proffered information's  trustworthiness.   See United  States v.
                                                      ___ ______________

          Figaro,  935 F.2d  4,  8 (1st  Cir.  1991).   This  inference  is
          ______

          especially compelling where, as here, the defendant also declines

          the  court's invitation  to cross-examine  the  declarant at  the

          disposition hearing.  See United  States v. Shrader, 56 F.3d 288,
                                ___ ______________    _______

          295 (1st Cir. 1995).

                    Finally,  a number of the allegations contained in Mrs.

          Brewster's statement were corroborated by other information, such

          as the PSI Report's description of the domestic violence incident

          from which the federal charges arose, the original police report,

          the  state police interview transcripts, and  the issuance of the
                              
          ____________________

               4The following  colloquy  occurred  during  the  disposition
          hearing:

                    THE COURT:  Is there any respect in which you
                    _________
                    believe that anything  contained in the [PSI]
                    report   or   its  appendices   [i.e.,   Mrs.
                    Brewster's   statement]   as  I   have   just
                    described them  which [sic] is  inaccurate or
                    untrue?

                    DEFENDANT:  No, sir.
                    _________

                                          14














          state  court protection order.  Such independent corroboration is

          a prime indicator  of reliability in the sentencing  milieu.  See
                                                                        ___

          United States v. Ponce, 51 F.3d 820, 828 (9th Cir. 1995).
          _____________    _____

                    We  need  not  tarry.    On  this  record,  it  strains

          credulity to characterize Mrs. Brewster's account as unreliable.5

          Hence, the district  court did not err in  accepting   and acting

          upon    the information contained  in the statement.   See, e.g.,
                                                                 ___  ____

          Shrader, 56 F.3d at 294;  Tardiff, 969 F.2d at 1287; Figaro,  935
          _______                   _______                    ______

          F.2d at 7.

                    Before  leaving the  topic of  factual sufficiency,  we

          pause to discuss  two related points.  One  concerns the question

          of  relevancy.   The appellant  hints  that, even  if the  record

          reliably  reflects a pattern  of domestic abuse,  that pattern is

          not a fair predictor of future criminality along the lines of the

          offense of conviction.  This suggestion, however, is no more than

          a  recasting of the argument that prior dissimilar conduct cannot
                                                  __________

          form the fundament for a  section 4A1.3 departure, and we dismiss

          it on that basis.   Section 4A1.3 permits a departure  as long as

          the  uncounted conduct evidences  a general propensity  to commit

          "other" or  "further" crimes.   Brewster's  pervasive history  of
                              
          ____________________

               5Brewster's  reliability  argument  leans  heavily  on   our
          opinion in United States v. McMinn, 103 F.3d 216 (1st Cir. 1997).
                     _____________    ______
          McMinn, fairly read, will not bear the weight that Brewster loads
          ______
          upon it.  In that  case, we rejected a reliability  challenge and
          upheld  a  section  4A1.3  departure based  in  part  on  witness
          statements  attesting to the seriousness of the defendant's prior
          criminal conduct.  See id.  at 218.  Brewster's argument suggests
                             ___ ___
          that,  were it  not for  certain  differences between  the McMinn
                                                                     ______
          statements and those  in issue here, the McMinn  court would have
                                                   ______
          disallowed the upward  departure.  This is  unfounded conjecture,
          premised primarily on wishful thinking.

                                          15














          domestic violence  undoubtedly presages  the probability that  he

          will continue to engage in such offensive behavior.

                    We add, moreover, that there  is indeed a nexus in this

          case between Brewster's history of  spousal abuse and his  felon-

          in-possession   offense.    As  Judge  Carter  pointed  out,  the

          discovery of the offense conduct arose  directly from an incident

          of  domestic violence,  and,  although  the  record  contains  no

          inkling that Brewster used the guns to menace his wife, we cannot

          fault the  district judge's conclusion that the  presence of guns

          in  the home  was "a  reasonable  source of  sufficient fear"  to

          discourage  Mrs. Brewster from  seeking outside assistance  in an

          effort to end the unremitting abuse.

                    Finally, we must ask whether the appellant's  immersion

          in domestic violence was sufficiently striking to distinguish him

          from the mine-run of offenders  in CHC III, thereby warranting an

          upward  departure.  See United States v. Carrillo-Alvarez, 3 F.3d
                              ___ _____________    ________________

          316,  320 (9th  Cir. 1993).    The district  court described  the

          thoroughly  despicable   chronicle  of   physical,  verbal,   and

          emotional  abuse  as  "highly  unusual."   We  believe  that  the

          accuracy  of that characterization  is self-evident and  that the

          atypicality requirement  of section  4A1.3  is easily  fulfilled.

          Phrased another way, since the  appellant's placement in CHC  III

          did not  compensate at  all for  this  markedly atypical  17-year

          history of grievous misconduct, an upward departure under section

          4A1.3 was warranted.

                           B.  Prior Uncounted Convictions.
                           B.  Prior Uncounted Convictions.
                               ___________________________


                                          16














                    The   appellant  also   contests   the  second   pillar

          underpinning the upward departure:  the district court's reliance

          on the  seven prior convictions  that were excluded from  the CHC

          calculation.    Because  the  court did  not  rest  its departure

          analysis  on the pattern  of protracted domestic  violence alone,

          but on  the combined  effect of that  pattern and  the litany  of

          uncounted convictions, we must address this assignment of error.

                    Section   4A1.3  specifically   authorizes  courts   to

          consider  prior uncounted convictions, see USSG  4A1.3(a), and an
                                                 ___

          upward departure is appropriate if convictions that were excluded

          from  the CHC calculation for reasons  such as remoteness "evince

          some  significantly  unusual penchant  for  serious criminality."

          United States v. Aymelek, 926 F.2d 64, 73 (1st Cir. 1991).
          _____________    _______

                    Here, the uncounted convictions involved a 1977 assault

          with a dangerous weapon; a  1979 conviction for operating a motor

          vehicle so as to endanger; four convictions in 1980 (two separate

          larcenies, an episode  of larceny by check, and  an incident that

          involved breaking and entering into  a motor vehicle); and a 1992

          conviction   for  operating   an  unregistered,   uninsured,  and

          uninspected  motor vehicle.   Judge Carter's assessment  that the

          seven  convictions for the most part represented serious offenses

          cannot be gainsaid, and, when considered against  the backdrop of

          the  appellant's  protracted  history   of  spousal  abuse,  such

          convictions are "sufficient to remove the offender from the mine-

          run  of other  offenders."   Id.   Under  these circumstances,  a
                                       ___

          departure is appropriate.  See id.
                                     ___ ___


                                          17














                    Swimming upstream  against this reality,  the appellant

          asseverates that the age of these convictions dispels  any notion

          that  they indicate an increased  likelihood of recidivism.  This

          asseveration  lacks force.   To be sure,  the appellant committed

          the uncounted offenses between  17 and 20 years ago.6   But, when

          considered in conjunction with  the counted offenses and  the 17-

          year history of domestic abuse,  they form discernible links in a

          long chain of persistent misconduct.   Given this solid basis for

          a powerful  inference of  recidivism and for  a finding  that the

          string  of   uncounted  convictions  reflect  a   rather  unusual

          proclivity  for  serious  criminality,  we  detect  no  abuse  of

          discretion  in  the  lower  court's  reliance  on  the  uncounted

          convictions.  See  United States v. Pratt, 73 F.3d  450, 453 (1st
                        ___  _____________    _____

          Cir.  1996) (ratifying  decision to  depart  upward based,  inter

          alia, on  outdated, uncounted convictions for "serious dissimilar

          [mis]conduct");  United States v. Tilley, 964 F.2d 66, 74-76 (1st
                           _____________    ______

          Cir. 1992)  (similar); Aymelek,  926 F.2d at  73 (holding  that a
                                 _______

          sentencing court properly  relied on  seven outdated  convictions

          "distinguished   by  their   numerosity  and   dangerousness"  in

          considering an  upward departure);  see also Doe,  18 F.3d  at 45
                                              ___ ____ ___

          (holding that  uncounted convictions  for dissimilar  misconduct,

          remote in time, can form the basis for an upward departure).

                              
          ____________________

               6The  parties,  like  the   sentencing  court,  focus  their
          attention on the six convictions  that were excluded from the CHC
          computation  on temporally-related grounds.  We follow their lead
          and omit any  separate discussion of the excluded 1992 conviction
          (which, in the overall scheme  of things, appears to carry little
          weight).

                                          18














                            C.  Refusal to Seek Treatment.
                            C.  Refusal to Seek Treatment.
                                _________________________

                    In pronouncing  sentence, the district  court mentioned

          the  appellant's failure to  pursue counseling for  alcohol abuse

          and domestic  violence.   The  appellant  claims that  the  court

          erroneously  employed this finding  as a third  factor justifying

          the sentence, and contests it both as a matter of law (he asserts

          that  refusal to  seek  treatment  cannot form  the  basis for  a

          departure) and as  a matter of fact (he asserts that he had begun

          treatment before his arrest).

                    Speaking broadly,  the absence  of a  mitigating factor

          ordinarily cannot  be treated as  the presence of  an aggravating

          factor, and, therefore, it might  arguably be error to premise an

          upward  departure on  a finding,  simpliciter,  that a  defendant

          refused to seek  voluntary treatment.7  We decline  to pursue the

          point for two reasons.  First, the record in this case, read as a

          whole, casts doubt upon the appellant's claim that the court used

          this finding as an independent  basis for departing.  Rather, the

                              
          ____________________

               7This situation is unlike United  States v. Shrader, 56 F.3d
                                         ______________    _______
          288 (1st Cir. 1995), a case in which the defendant unsuccessfully
          challenged a criminal history departure granted on the basis that
          his CHC significantly  understated both his criminal  history and
          his proclivity for  recidivist behavior.   We noted, inter  alia,
          four incidents, not included in the CHC computation, during which
          Shrader  operated a motor  vehicle while  under the  influence of
          alcohol, and we  further noted that the CHC  "did not account for
          the  fact  that  Shrader  had  thrice  been  ordered  to  undergo
          rehabilitation  programs  designed  to  deter  the  very behavior
          underlying these  incidents."   Id. at  293.   We held  that this
                                          ___
          "record of persistently  disregarding the law" rendered  the case
          sufficiently unusual to warrant an upward departure.  However, it
          was not  Shrader's failure  to seek  treatment, but his  flagrant
          disregard  of judicial directives,  that helped to  establish his
          recidivist tendencies.

                                          19














          sentencing  transcript  suggests  that the  court  considered the

          defendant's  failure  to  seek help  primarily  as  evidence that

          Brewster  had "every prospect of continuing [the violent domestic

          abuse]  in the  future"  and  of continuing  to  "indulg[e] in  a

          dangerous and highly reprehensible . . . course of conduct."

                    Second, to  the extent    if at  all    that the  court

          blended this finding  into the departure mix, any  error would be

          harmless.  When a departure  rests on a combination of valid  and

          invalid grounds,  a reviewing court  should uphold it as  long as

          (1)  the extent  of departure  is reasonable  in relation  to the

          valid grounds, (2)  the exclusion of the invalid  ground does not

          undermine  the departure rationale  articulated by the sentencing

          court,  and  (3)  whole-record review  offers  an  assurance that

          excision of  the invalid ground  probably would not  have altered

          the sentence imposed.   See United  States v. Diaz-Bastardo,  929
                                  ___ ______________    _____________

          F.2d 798, 800 (1st Cir. 1991); see also Figaro, 935 F.2d at 7.
                                         ___ ____ ______

                    In  this  instance,  it is  readily  apparent  that the

          district court's  decision to  depart depended  primarily on  the

          appellant's   prolonged  campaign   of   domestic  violence   and

          secondarily on the uncounted convictions.  It is equally apparent

          that those grounds, standing alone, are fully adequate to support

          the departure.   What the  court perceived to be  the appellant's

          refusal to  seek treatment was at  most a throw-in    a lagniappe

          that in all likelihood did not sway, or even affect, the decision

          to depart.  Hence, we  rule that the district court's superfluous

          "refusal  to  treat" comments,  whether  or  not intended  as  an


                                          20














          additional ground for departure, do not undermine the sentence.

          V.  THE REASONABLENESS OF THE DEPARTURE
          V.  THE REASONABLENESS OF THE DEPARTURE

                    Having determined  that the stated grounds  are legally

          and  factually  sufficient  to  support  the  sentencing  court's

          decision to depart,  our final  task is  to assay  the degree  of

          departure.  The yardstick  is reasonableness.  See  United States
                                                         ___  _____________

          v.  Quinones, 26 F.3d 213, 219 (1st  Cir. 1994); United States v.
              ________                                     _____________

          Diaz-Villafane,  874 F.2d  43, 49  (1st Cir.  1989); see  also 18
          ______________                                       ___  ____

          U.S.C.    3742(e)(3)  (1994).    This  criterion requires  us  to

          consider not only the trial court's reasons for departing, see 18
                                                                     ___

          U.S.C.   3742(e)(3)(B), but also "the overall aggregate  of known

          circumstances pertaining to  the offense of conviction and to the

          offender  who committed it,"  United States  v. Ocasio,  914 F.2d
                                        _____________     ______

          330, 337 (1st Cir. 1990).  Furthermore, we must determine whether

          a  sentencing  court  that  purports  to  undertake  a  so-called

          horizontal departure,8 such as a criminal history departure under

          section 4A1.3, has fulfilled  its guideline-imposed obligation to

          evaluate  adjacent criminal history categories in sequence.  See,
                                                                       ___

          e.g., Pratt, 73 F.3d at  453 (concluding that a court seeking  to
          ____  _____

          depart   pursuant  to  section  4A1.3  must  determine  that  the
                              
          ____________________

               8Departures   pursuant  to   USSG    4A1.3  are   considered
          horizontal  because, in  selecting an  adequate  criminal history
          category, "the  court  moves horizontally  across the  sentencing
          table  through successively  higher  CHCs  until  it  reaches  an
          appropriate, or `reflective' sentencing range."  United States v.
                                                           _____________
          Hardy, 99  F.3d 1242, 1248  (1st Cir.  1996).  By  contrast, USSG
          _____
           5K2.0 authorizes a court to  depart by moving along the vertical
          axis of the sentencing table  and selecting an offense level that
          reflects   the  impact   of  the   aggravating   (or  mitigating)
          circumstance which makes the offense  of conviction unusual.  See
                                                                        ___
          id.
          ___

                                          21














          offender's  criminal history is similar to the criminal histories

          of defendants in  the CHC to which the court  wishes to migrate);

          Aymelek,  926  F.2d   at  70  (explaining  that   "section  4A1.3
          _______

          departures  require the use  of analogies  by, in  effect, moving

          from one  criminal history category to another"); see also United
                                                            ___ ____ ______

          States  v. Tropiano,  50 F.3d  157, 162  (2d Cir.  1995) (holding
          ______     ________

          that,  under section  4A1.3, a  court  is required  to "proceed[]

          sequentially from the criminal history category determined by the

          defendant's  criminal history  point  score  through each  higher

          criminal history category  until it settles upon  a category that

          fits the defendant").  Because a sentencing court  has first-hand

          exposure  to the  accused and  a more  intimate knowledge  of the

          circumstances  upon which  the decision  to  depart is  premised,

          appellate  courts   should  disturb   determinations  implicating

          degrees  of  departure  only  if  it  clearly  appears  that  the

          sentencing court abused  its considerable discretion.   See Diaz-
                                                                  ___ _____

          Villafane, 874 F.2d at 49-50.
          _________

                    In this instance, the court leapfrogged over CHC IV and

          departed from CHC III to CHC V, thereby upgrading the GSR  from a

          maximum of 41 months to a maximum of 63 months.  It  then imposed

          a 63-month sentence.   The court reasoned that this incarcerative

          term,  followed by  three  years  of  supervised  release,  would

          accomplish two things:   it would ensure judicial supervision  of

          the appellant's activities until his youngest  son was old enough

          to  leave  home, and  it  would  appropriately  reflect both  the

          seriousness  of the appellant's  criminality and  the concomitant


                                          22














          risk of recidivism.   We find nothing unacceptable  in the extent

          of the departure.

                    At   the  threshold,  we   dismiss  out  of   hand  the

          appellant's suggestion that the district  court failed adequately

          to  explain  its  reasons  for  selecting  a  departure  of  this

          magnitude.   The requirement that  courts departing  horizontally

          must  look to adjacent criminal history categories in sequence is

          important,  but it is  not to be  construed in  a robotic manner.

          See Aymelek, 926  F.2d at  70.   Here, though the  court did  not
          ___ _______

          explicitly  discuss  the  inadequacy  of  CHC  IV,  it  made  the

          rationale for its choice of CHC V transparently clear.  Moreover,

          the court's explanation  of why a sentence available  under CHC V

          satisfied  its concerns    particularly  its  concern about  Mrs.

          Brewster's welfare in relation to the childrens' ages   served de

          facto  as  an  explanation  of  why CHC  IV  would  not  suffice.

          Accordingly,  the  explanation  substantially complies  with  the

          requirement contained in section 4A1.3.

                    The  appellant's  related  claim  that  the  extent  of

          departure  is  draconian  deserves  scant  comment.    The  court

          departed upward by  22 months to a point  approximately 50% above

          the maximum allowed under the original  GSR.  We are mindful that

          sentencing courts  have substantial  leeway regarding degrees  of

          departure.  See United States  v. Rivera, 994 F.2d 942,  950 (1st
                      ___ _____________     ______

          Cir.  1993); Aymelek,  926 F.2d  at 69  (citing United  States v.
                       _______                            ______________

          Aguilar-Pena, 887 F.2d 347, 350 (1st Cir. 1989)); Diaz-Villafane,
          ____________                                      ______________

          874  F.2d at  52.  Although  the extent  of the departure  in the


                                          23














          instant  case  is  substantial, we  believe  that  the departure-

          justifying  circumstances and the extent of  the departure are in

          reasonable balance.   No more is exigible.   See United States v.
                                                       ___ _____________

          Harotunian, 920  F.2d  1040, 1045-46  (1st Cir.  1990); see  also
          __________                                              ___  ____

          United  States v.  Hardy,  99  F.3d 1242,  1253  (1st Cir.  1996)
          ______________     _____

          (affirming upward departure of 300% based  in part on defendant's

          "persistent ten-year history of violent anti-social behavior").

          VI.  CONCLUSION
          VI.  CONCLUSION

                    We  need go  no  further.   We  hold  that USSG   4A1.3

          provided legal  authority for the  court to depart  for uncharged

          dissimilar  misconduct  (here, an  ingrained pattern  of domestic

          violence) of a kind that evinced both the defendant's significant

          likelihood  of recidivism  and the  seriousness  of his  criminal

          past.  We  also hold that,  in the unique  circumstances of  this

          case, the long and documented history  of spousal abuse, combined

          with a plethora  of uncounted prior convictions,  amply justified

          an upward  departure of the  magnitude essayed by  the sentencing

          court.



          Affirmed.
          Affirmed.
          ________














                                          24














                                       APPENDIX
                                       APPENDIX
                                       ________

                    If  reliable information  indicates  that the  criminal
                    history  category  does   not  adequately  reflect  the
                    seriousness of the defendant's past criminal conduct or
                    the likelihood  that the  defendant  will commit  other
                    crimes,  the  court may  consider  imposing  a sentence
                    departing  from  the   otherwise  applicable  guideline
                    range.   Such  information  may  include,  but  is  not
                    limited to, information concerning:
                         (a) prior  sentence(s) not used  in computing  the
                         criminal  history  category (e.g.,  sentences  for
                                                      ____
                         foreign and tribal offenses);
                         (b) prior sentence(s)  of substantially more  than
                         one year imposed as a result of independent crimes
                         committed on different occasions;
                         (c)  prior  similar  misconduct  established by  a
                         civil  adjudication or by a failure to comply with
                         an administrative order;
                         (d) whether  the defendant  was  pending trial  or
                         sentencing  on another charge  at the time  of the
                         instant offense;
                         (e)  prior  similar  adult  criminal  conduct  not
                         resulting in a criminal conviction.
                    A  departure under this provision is warranted when the
                    criminal   history   category    significantly   under-
                    represents the seriousness of the defendant's  criminal
                    history  or  the  likelihood  that the  defendant  will
                    commit further crimes.  . . .   The court may,  after a
                    review  of all the  relevant information, conclude that
                    the defendant's criminal history was significantly more
                    serious  than that  of  most  defendants  in  the  same
                    criminal history  category, and  therefore consider  an
                    upward departure from the guidelines.  However, a prior
                    arrest  record  itself shall  not  be  considered under
                     4A1.3.

          USSG  4A1.3 (1995).















                                          25









